     Case 2:20-cv-01882-RAO Document 103 Filed 04/14/22 Page 1 of 3 Page ID #:2143



 1   Anoush Hakimi (SBN 228858)
 2   anoush@handslawgroup.com
     Peter Shahriari (SBN 237074)
 3
     peter@handslawgroup.com
 4   Valerie Bradbury (SBN 249868)
     valerie@handslawgroup.com
 5
     Laura Steven (SBN 332168)
 6   laura@handslawgroup.com
 7
     THE LAW OFFICE OF HAKIMI & SHAHRIARI
     1800 Vine Street
 8   Los Angeles, CA 90028
 9   Telephone: (888) 635-2250
     Facsimile: (213) 402-2170
10

11   Attorneys for Plaintiff
     JAMES SHAYLER
12

13
                            UNITED STATES DISTRICT COURT

14
                           CENTRAL DISTRICT OF CALIFORNIA

15

16   JAMES SHAYLER, an individual,           Case No.: 2:20-cv-01882-RAO
17
              Plaintiff,                     Hon. Rozella A. Oliver
18
         v.
19                                           PLAINTIFF’S REQUEST FOR
     EHAB S. YACOUB, an individual;          CONSIDERATION OF MOTION
20                                           FOR ATTORNEYS’ FEES AND
     LORINE A. MIKHAEIL, an individual;
21   and DOES 1-10,                          LITIGATION EXPENSES
22
               Defendants.
23

24

25

26

27

28


                                         1             Case No. 2:20-cv-01882-RAO
              PLAINTIFF’S REQUEST FOR CONSIDERATION OF MOTION FOR
                    ATTORNEYS’ FEES AND LITIGATION EXPENSES
     Case 2:20-cv-01882-RAO Document 103 Filed 04/14/22 Page 2 of 3 Page ID #:2144



 1         Plaintiff James Shayler (“Plaintiff”) hereby submits this request for
 2
     consideration of Plaintiff’s pending Motion for Attorneys’ Fees and Litigation
 3

 4   Expenses (ECF No. 85).
 5
           In doing so, Plaintiff calls the following facts to the Court’s attention:
 6

 7
           1.     This Court granted Plaintiff’s Motion for Summary Judgment and

 8   entered a judgment for Plaintiff and against Defendants Ehab S. Yacoub and
 9
     Lorine A. Mikhael (“Defendants”) on August 31, 2021. See ECF No. 81.
10

11         2.     After receiving this Court’s favorable ruling, Plaintiff filed a Motion
12
     for Attorneys’ Fees and Litigation Expenses on September 14, 2021. See ECF No.
13

14
     85.

15         3.     On February 4, 2022, the Court directed the parties to file a joint
16
     status report and indicated that “[a]fter receipt of the joint status report, the Court
17

18   will enter judgment and issue a ruling on the pending motion for attorney’s fees.”
19
     ECF No. 101.
20

21
           4.     On February 11, 2022, the parties submitted a joint status report

22   replete with photographs that show the remediations ordered by the Court had not
23
     been completed. See ECF No. 102.
24

25         5.     While Plaintiff is aware of this Court’s busy schedule, Plaintiff
26
     respectfully requests that, at the Court’s convenience, the Motion for Attorneys’
27

28
     Fees and Litigation Expenses be taken under consideration.

                                               2              Case No. 2:20-cv-01882-RAO
            PLAINTIFF’S REQUEST FOR CONSIDERATION OF MOTION FOR
                  ATTORNEYS’ FEES AND LITIGATION EXPENSES
     Case 2:20-cv-01882-RAO Document 103 Filed 04/14/22 Page 3 of 3 Page ID #:2145



 1         In light of the foregoing, Plaintiff respectfully requests that this Court
 2
     consider the pending Motion for Attorneys’ Fees and Litigation Expenses.
 3

 4   Dated: April 14, 2022            THE LAW OFFICE OF HAKIMI & SHAHRIARI
 5                                    By: /s/ Anoush Hakimi
 6
                                          ANOUSH HAKIMI, ESQ.
                                          Attorney for Plaintiff James Shayler
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                              3              Case No. 2:20-cv-01882-RAO
            PLAINTIFF’S REQUEST FOR CONSIDERATION OF MOTION FOR
                  ATTORNEYS’ FEES AND LITIGATION EXPENSES
